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       Strzok v. Garland, et al., No. 1:19-cv-2367-ABJ (D.D.C.)




              Plaintiff’s Exhibit 73

To Plaintiff’s Summary Judgment Memorandum
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Mueller Removed Top Agent in Russia Inquiry Over Possible Anti-Trump Texts


By Michael S. Schmidt, Matt Apuzzo and Adam Goldman
Dec. 2,2017



WASHINGTON         -   The special counsel, Robert S. Mueller III, removed atop F.B.I. agent this summer from his
investigation into Russian election meddling after the Justice Department's inspector general began examining
whether the agent had sent text messages that expressed anti-Trump political views, according to three people
briefed on the matter.

The agent, Peter Strzok, is considered one of the most experienced and trusted F.B.I. counterintelligence
investigators. He helped lead the investigation into whether Hillary Clinton had mishandled classified information
on her private email account, and then played amajor role in the investigation into links between President Trump's
campaign and Russia.

But Mr. Strzok was reassigned this summer from Mr. Mueller's investigation to the EB.I.'s human resources
department, where he has been stationed since. The people briefed on the case said the transfer followed the
discovery of text messages in which Mr. Strzok and acolleague reacted to news events, like presidential debates, in
ways that could appear critical of Mr. Trump.

"Immediately upon learning of the allegations, the special counsel's office removed Peter Strzok from the
investigation," said aspokesman for the special counsel's office, Peter Carr.

The inspector general's office at the Justice Department said that as part of alarger inquiry it was conducting into
how the F.B.I. had handled investigations related to the 2016 election, the office was "reviewing allegations involving
communications between certain individuals, and will report its findings regarding those allegations promptly upon
completion of the review of them."



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A lawyer for Mr. Strzok did not return several messages seeking comment. A spokeswoman for the Justice
Department said that "we are aware of the allegation and are taking any and all appropriate steps." ABC News
reported in August that Mr. Strzok had left the investigation, but the reason for the move was unclear at the time.

Mr. Strzok's reassignment shows that Mr. Mueller moved swiftly in the face of what could be perceived as bias by
one of his agents amid apolitically charged inquiry into Mr. Trump's campaign and administration. But the
existence of the text messages is likely to fuel claims by Mr. Trump that he is the target of awitch hunt.

The discovery of the text messages came at acrucial moment in Mr. Mueller's investigation. At the time, Mr.
Mueller was ramping up his inquiry into Mr. Trump's former advisers, while also coming under criticism for putting
many donors to Democratic candidates on his team. Some conservatives encouraged Mr. Trump to fire Mr. Mueller,
saying the investigation was tainted. Mr. Trump seriously entertained the idea but ultimately backed down.
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It is not clear what Mr. Strzok said in his text messages. EB.I. regulations allow agents to express opinions "as an
individual privately and publicly on political subjects and candidates."

Current and former law enforcement officials who worked with Mr. Strzok said they had never seen any evidence
that he allowed his political views to influence the investigations he led. They said that Mr. Strzok, aformer Army
officer, was deeply trusted by James B. Comey, the former F.B.I. director,and that he would probably have become
one of the bureau's top officials had the questions not been raised about his text messages.

The inquiry into Mr. Strzokis being conducted by the Justice Department's inspector general, Michael E. Horowitz,
who is leading abroad examination of how the F.B.I. handled the Clinton email investigation. It is not clear whether
Mr. Horowitz will make the text messages public as part of his report in the inquiry. Mr. Horowitz, who announced
the beginning of his investigation in January, declined to characterize his findings but said that he hoped to have a
copy of his report released by March or April.

Aversion of this article appears in print on Section A, Page 27 of the New York edition with the headline: ATop F.B.I. Agent Taken Off Inquiry
